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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                   Texas
 Western (San Antonio) District of _________________
 ____________________
                                       (State)
                                                           7
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          AAF Properties, LLC
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer             ___ ___ – ___ ___ ___ ___ ___ ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                            4525       Macro
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box

                                            San Antonio                TX       78218
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Bexar
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                 https://aaf.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            ✔


                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
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Debtor           AAF Properties, LLC
                _______________________________________________________                              Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above
                                          ✔




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              7112
                                              ___ ___Spectator
                                                      ___ ___              Sports

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                      Chapter 7
                                          ✔


                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                   insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                                   4/01/19 and every 3 years after that).
                                                               
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                   debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                   of operations, cash-flow statement, and federal income tax return or if all of these
                                                                   documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                  A plan is being filed with this petition.

                                                                  Acceptances of the plan were solicited prepetition from one or more classes of
                                                                   creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                   Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                   Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                   for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                   12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.     District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                                District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.                 See Schedule 1                                                      Affiliate
                                                    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                      District
                                                                 Western District of Texas (San Antonio)
                                                                _____________________________________________         When          04/17/2019
                                                                                                                                   __________________
      List all cases. If more than 1,                                                                                              MM /   DD   / YYYY
      attach a separate list.                       Case number, if known ________________________________


     Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 2
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Debtor         AAF Properties, LLC
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                        Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                        ✔




12.   Does the debtor own or have       No
                                        ✔

      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                       Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                    It needs to be physically secured or protected from the weather.

                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                    Other _______________________________________________________________________________



                                                 Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________         _______     ________________
                                                                           City                                            State       ZIP Code


                                                 Is the property insured?
                                                    No
                                                    Yes. Insurance agency ____________________________________________________________________

                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                        ✔


                                        After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49
                                        ✔                                 1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                            5,001-10,000                             50,001-100,000
      creditors
                                        100-199                          10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000
                                        ✔                                 $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                        $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



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                                             SCHEDULE 1
                        Bankruptcy Cases Filed by the Debtor and Its Affiliates
          As of the date of this filing, each of the entities listed below filed a petition in this Court

  for relief under chapter 7 of title 11 of the United States Code.

               AAF Players, LLC
               AAF Properties, LLC
               Ebersol Sports Media Group, Inc.
               Legendary Field Exhibitions, LLC
               LFE 2, LLC
               We Are Realtime, LLC




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION


      In re:                                                             Chapter 7

      Legendary Field Exhibitions, LLC, et al.,                          Case No.

                                    Debtors.1


                              CORPORATE OWNERSHIP STATEMENT OF
                                     AAF PROPERTIES, LLC

               Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(1), the following are

  corporations, other than a governmental unit, that directly or indirectly own 10% or more of any

  class of AAF Properties, LLC’s equity interests.2

                                                      Shareholder
                             Ebersol Sports Media Group, Inc.
                             Teddy Bright Pictures, Inc.
                             FO2 LLC




                                   [Remainder of page intentionally left blank]




  1
      The Debtors in these chapter 7 cases are: Legendary Field Exhibitions, LLC; AAF Players, LLC; AAF Properties,
      LLC; Ebersol Sports Media Group, Inc.; LFE 2, LLC; and We Are Realtime, LLC. The Debtors’ main corporate and
      mailing address for purposes of these chapter 7 cases is: 4525 Macro, San Antonio, TX 78218.
  2
      On February 14, 2019, Dundon Capital Partners LLC acquired the right to 75% senior ownership and control in
      Ebersol Sports Media Group, Inc., the Debtor's ultimate parent. The form of such capital security to be defined in
      definitive documentation at the sole discretion of Dundon Capital Partners LLC, but in all events senior to any
      other existing capital securities of Ebersol Sports Media Group, Inc. Such definitive documentation was not
      completed prior to filing.
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                                      Respectfully Submitted,

                                             BRACEWELL LLP

                                             /s/ William A. (Trey) Wood III
                                             William A. (Trey) Wood III
                                             Texas Bar No. 21916050
                                             Trey.Wood@bracewell.com
                                             Jason G. Cohen
                                             Texas Bar No. 24050435
                                             Jason.Cohen@bracewell.com
                                             711 Louisiana, Suite 2300
                                             Houston, Texas 77002
                                             Telephone: (713) 222-3055
                                             Facsimile: (713) 221-1212

                                             Counsel For Debtors




                                         2
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                                     WRITTEN CONSENT

                                             OF THE

                              MANAGER AND SOLE MEMBER

                                                OF

                                    AAF PROPERTIES, LLC


          The undersigned, being the sole member and the duly appointed manager of AAF
  Properties, LLC, a Delaware limited liability company (the “Company”), and, being entitled to
  vote upon the approval of the resolutions attached hereto as Exhibit A (the “Resolutions”),
  hereby consent to the adoption of the Resolutions without a meeting of the sole member or the
  manager of the Company to have the same force and effect as if approved by at a formal meeting
  of the Company duly called and held for the purpose of approving the Resolutions.

          IN WITNESS WHEREOF, the undersigned have executed this written consent to be
  effective as of the first date on which it has been executed by the sole member and the manager.


                                           MANAGER


                                                                                   Date: 4/16/2019
                                           Charles Ebersol


                                           SOLE MEMBER

                                           Ebersol Sports Media Group, Inc.


                                                                                   Date: 4/16/2019
                                           Charles Ebersol
                                           Chief Executive Officer




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                                                Exhibit A

               RESOLUTIONS OF THE SOLE MEMBER AND MANAGER OF
                             AAF PROPERTIES, LLC

                                             April 16, 2019
  CHAPTER 7 FILING

  WHEREAS, each of the sole member (the “Member”) and the manager (the “Manager”) of AAF
  Properties, LLC (the “Company”) has reviewed and discussed the financial and operational
  condition of the Company and the Company’s business on the date hereof, including the current
  and historical performance of the Company, the assets and liquidity of the Company, the current
  long-term liabilities of the Company, the market for the Company’s services, and credit market
  conditions; and

  WHEREAS, the Member and the Manager have received, reviewed, and discussed the
  recommendations of senior management of the Company and the Company’s legal, financial,
  and other advisors as to the relative risks and benefits of the strategic alternatives available to the
  Company, including pursuing a bankruptcy proceeding under the provisions of Title 11 of the
  United States Code (the “Bankruptcy Code”); and

  WHEREAS, after review and discussion and due consideration of all of the information
  presented to the Member and the Manager, the Member and the Manager deem it advisable and
  in the best interests of the Company, including without limitation, its creditors, employees, and
  other investors, stakeholders and other interested parties, for the Company to file a voluntary
  petition for relief under chapter 7 of the Bankruptcy Code.

  NOW, THEREFORE, BE IT, RESOLVED, that in the judgment of the Member and the
  Manager, it is desirable and in the best interests of the Company, its creditors, and other parties
  in interest, that the Company shall be and hereby is authorized to file or cause to be filed a
  voluntary petition for relief (such voluntary petition, the “Chapter 7 Case”) under the provisions
  of the Bankruptcy Code in the United States Bankruptcy Court for the Western District of Texas
  or another court of proper jurisdiction (the “Bankruptcy Court”); and

  RESOLVED, that Charles Ebersol, and Kevin Farrell, the Head of Corporate Operations (the
  “Authorized Signatories”), acting alone or with one or more other Authorized Signatories be, and
  hereby are, authorized, empowered and directed to execute and file on behalf of the Company all
  petitions, schedules, lists and other motions, papers, or documents, and to take any and all action
  that they deem necessary or proper to obtain such relief, including, without limitation, any action
  necessary to maintain the ordinary course operation of the Company’s business; and

  RETENTION OF PROFESSIONALS

  RESOLVED, that the Authorized Signatories be, and each hereby is, authorized and directed to
  employ the law firm of Bracewell LLP as bankruptcy counsel to represent and assist the
  Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions to


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 advance the Company’s rights and obligations, including filing any pleadings; and in connection
 therewith, the each of the Authorized Signatories, with power of delegation, is hereby authorized
 and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
 to be filed an appropriate application for authority to retain the services of Bracewell LLP; and

 RESOLVED, that the Authorized Signatories be, and each hereby is, authorized and directed to
 employ any other professionals to assist the Company in carrying out its duties under the
 Bankruptcy Code; and in connection therewith, each Authorized Signatory, with power of
 delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
 appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
 services of any other professionals as necessary; and

 RESOLVED, that the Authorized Signatories be, and each hereby is, with power of delegation,
 authorized, empowered and directed to execute and file all petitions, schedules, motions, lists,
 applications, pleadings, and other papers and, in connection therewith, to employ and retain all
 assistance by legal counsel, accountants, financial advisors, and other professionals and to take
 and perform any and all further acts and deeds that the Authorized Signatory deems necessary,
 proper, or desirable in connection with the Company’s Chapter 7 case, with a view to the
 successful prosecution of such case; and

 GENERAL

 RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
 Authorized Signatories, the Authorized Signatories (and their designees and delegates) be, and
 each hereby is, authorized and empowered, in the name of and on behalf of the Company, to take
 or cause to be taken any and all such other and further action, and to execute, acknowledge,
 deliver and file any and all such agreements, certificates, instruments and other documents and to
 pay all expenses, including but not limited to filing fees, in each case as in such signatory’s or
 signatories’ judgment, shall be necessary, advisable or desirable in order to fully carry out the
 intent and accomplish the purposes of the resolutions adopted herein; and

 RESOLVED, that the Member and the Manager have received sufficient notice of the actions
 and transactions relating to the matters contemplated by the foregoing resolutions, as may be
 required by the organizational documents of the Company, or hereby waive any right to have
 received such notice; and

 RESOLVED, that all acts, actions, and transactions relating to the matters contemplated by the
 foregoing resolutions done in the name of and on behalf of the Company, which acts would have
 been approved by the foregoing resolutions except that such acts were taken before the adoption
 of these resolutions, are hereby in all respects approved and ratified as the true acts and deeds of
 the Company with the same force and effect as if each such act, transaction, agreement, or
 certificate has been specifically authorized in advance by resolution of the Member and the
 Manager; and

 RESOLVED, that the Authorized Signatories (and their designees and delegates) be, and each
 hereby is, authorized and empowered to take all actions or to not take any action in the name of


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 the Company with respect to the transactions contemplated by these resolutions hereunder as the
 sole shareholder, partner, member, or managing member of each direct subsidiary of the
 Company, in each case, as the Authorized Signatory shall deem necessary or desirable in the
 Authorized Signatory’s reasonable business judgment as may be necessary or convenient to
 effectuate the purposes of the transactions contemplated herein.



                                              ***




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                         IN THE UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION


 In re                                                           Chapter 7

 Legendary Field Exhibitions, LLC, et al.,                       Case No.
            1
 Debtors.



             GLOBAL NOTES, METHODOLOGY, AND SPECIFIC DISCLOSURES
               REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
                LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                  Introduction

        Ebersol Sports Media Group, Inc. (“ESMG”) and its affiliated debtors (collectively, the
 “Debtors”) are filing their respective Schedules of Assets and Liabilities (the “Schedules”) and
 Statements of Financial Affairs (the “Statements,” and together with the Schedules, the
 “Schedules and Statements”) with the United States Bankruptcy Court for the Western District
 of Texas, San Antonio Division (the “Bankruptcy Court”).

 The Schedules and Statements were prepared pursuant to Bankruptcy Code section 521 and
 Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by
 management of the Debtors with unaudited information available as of the Petition Dates.

 The Debtors’ management prepared the Schedules and Statements with the assistance of their
 financial and legal advisors. The Schedules and Statements are unaudited. The Debtors’
 management and advisors have made reasonable efforts to ensure that the Schedules and
 Statements are as accurate and complete as possible under the circumstances based on
 information that was available to them at the time of preparation; however, subsequent
 information or discovery may result in material changes to the Schedules and Statements and
 inadvertent errors or omissions may exist. Notwithstanding any such discovery or new
 information, the Debtors shall not be required to update the Schedules and Statements.
 Furthermore, nothing contained in the Schedules and Statements shall constitute a waiver of

 1
     The Debtors in these chapter 7 cases are: Legendary Field Exhibitions, LLC; AAF Players, LLC; AAF Properties,
     LLC; Ebersol Sports Media Group, Inc; LFE 2, LLC; and We are Realtime, LLC. The Debtors’ main corporate
     and mailing address for purposes of these chapter 7 cases is: 4525 Macro, San Antonio, TX 78218.


                                                         1
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 rights with respect to these Chapter 7 Cases, including to issues involving substantive
 consolidation, equitable subordination, and causes of action arising under provisions of chapter
 5 of the Bankruptcy Code and other relevant non-bankruptcy laws to recover assets or avoid
 transfers.

 These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’ Schedules
 of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”) relate to each
 Debtor’s Schedules and Statements and set forth the basis upon which the Schedules and
 Statements are presented. These Global Notes comprise an integral part of all of the Schedules
 and Statements and should be referred to and considered in connection with any review of the
 Schedules and Statements. The Schedules and Statements do not purport to represent financial
 statements prepared in accordance with Generally Accepted Accounting Principles in the
 United States (“GAAP”), nor are they intended to be fully reconciled with the financial
 statements of each Debtor. Additionally, the Schedules and Statements contain unaudited
 information that is subject to further review and potential adjustment and reflect the Debtors’
 commercially reasonable efforts to report the assets and liabilities of each Debtor on an
 unconsolidated basis.

 The Schedules and Statements should not be relied upon by any person for information
 relating to current or future financial conditions, events or performance of any of the
 Debtors. Due to numerous unliquidated, contingent and/or disputed claims, summary
 statistics in the Schedules and Statements likely significantly understate the Debtors’
 liabilities. The Debtors and their agents, attorneys, and advisors do not guarantee or warrant
 the accuracy or completeness of the data that is provided herein and shall not be liable for any
 loss or injury arising out of or caused in whole or in part by the acts, errors, or omissions,
 whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
 communicating, or delivering the information contained herein. While commercially
 reasonable efforts have been made to provide accurate and complete information herein,
 inadvertent errors or omissions may exist. The Debtors and their agents, attorneys, and
 advisors expressly do not undertake any obligation to update, modify, revise, or recategorize
 the information provided herein, or to notify any third party should the information be updated,
 modified, revised, or recategorized.

 In no event shall the Debtors or their agents, attorneys, and financial advisors be liable to any
 third party for any direct, indirect, incidental, consequential, or special damages (including, but
 not limited to, damages arising from the disallowance of a potential claim against the Debtors
 or damages to business reputation, lost business, or lost profits), whether foreseeable or not and
 however caused, even if the Debtors or their agents, attorneys, and financial advisors are
 advised of the possibility of such damages.


                                                  2
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 Kevin Farrell, Head of Corporate Operations, has signed each of the Schedules and Statements.
 Mr. Farrell is an authorized signatory for each of the Debtors. In reviewing and signing the
 Schedules and Statements, Mr. Farrell necessarily has relied upon the efforts, statements, and
 representations of various personnel involved in the Debtors’ businesses and their advisors.
 Mr. Farrell has not (and could not have) personally verified the accuracy of each statement and
 representation contained in the Schedules and Statements, including statements and
 representation concerning amounts owed to creditors, classification of such amounts, and
 creditor addresses.


 Global Notes and Overview of Methodology

 1.      Consolidation of Books and Records. The Debtors’ books and records have been
 maintained only on a consolidated basis since inception rather than on a legal entity basis. As
 such, the Schedules and Statements have been prepared on a “best efforts” basis to list assets
 for each legal entity based on the Debtors’ business operations.

 2.      Net Book Value of Assets. It would be prohibitively expensive and unduly
 burdensome to obtain current market valuations for all of the Debtors’ property interests.
 Unless otherwise stated, the Schedules and Statements reflect net book values as of January 31,
 2019, the date that the most recent financial statements were completed. Due to the timing of
 the preparation of these Schedules and Statements, the Debtors’ financials as of the Petition
 Date are not yet available. Where more recent data is available, the Debtors have endeavored to
 reflect this information in the Schedules and Statements. The book values of certain assets may
 materially differ from their fair market values. For the avoidance of doubt, nothing contained
 in the Schedules and Statements is indicative of the Debtors’ enterprise value.

 Book values of assets prepared in accordance with GAAP generally do not reflect the current
 performance of the assets or the impact of the current price environment and may differ
 materially from the actual value and/or performance of the underlying assets.

 3.      Liabilities. The liability information provided herein represents the estimated liability
 data of the Debtors as of the Petition Date, except as otherwise noted. Amounts presented
 herein are based on the Debtors’ reasonable efforts to determine amounts owed to creditors as
 of the Petition Date. Amounts owed to vendors for certain goods in transit which have not yet
 been received at the Debtors’ facilities or services provided for which invoices have not been
 received as of April 11, 2019, may be understated due to lack of sufficient information.




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 Accordingly, the Debtors reserve all of their rights to amend, supplement, or otherwise modify
 the Schedules and Statements as is necessary or appropriate.

 The liabilities listed on the Schedules do not reflect any analysis of claims under section
 503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to
 dispute or challenge the validity of any asserted claims under section 503(b)(9) of the
 Bankruptcy Code or the characterization of the structure of any such transaction or any
 document or instrument related to any creditor’s Claim.

 4.      Leases. In the ordinary course of their businesses, the Debtors lease facilities from
 certain third-party lessors for use in their daily operations. Any such leases are set forth in
 Schedule G. The property subject to any of such leases is not reflected in either Schedule A or
 Schedule B as either owned property or assets of the Debtors. Neither is the property subject to
 any such leases reflected in the Statements as property or assets of third-parties within the
 control of a Debtor. Nothing in the Schedules is or shall be construed as an admission or
 determination as to the legal status of any lease (including whether any lease is a true lease or a
 financing arrangement), and the Debtors reserve all rights with respect to any such issues.

 5.     Reservation of Rights. Reasonable efforts have been made to prepare and file
 complete and accurate Schedules and Statements, but inadvertent errors or omissions may exist.
 Nothing contained in the Schedules and Statements or the Global Notes shall constitute a
 waiver of rights with respect to the Chapter 7 Cases, including, but not limited to, issues
 involving substantive consolidation, equitable subordination, characterization or
 re-characterization of contracts, assumption or rejection of executory contracts under the
 provisions of chapter 3 of the Bankruptcy Code and causes of action arising under the
 provisions of chapter 5 of the Bankruptcy Code or any applicable non-bankruptcy laws to
 recover assets or avoid transfers.

              (a)   Schedules D and E/F permit each of the Debtors to designate a Claim as
                    “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a
                    claim listed on the Schedules and Statements as “disputed,” “contingent” or
                    “unliquidated” does not constitute an admission by the Debtors that such
                    amount is not “disputed,” “contingent” or “unliquidated.” The Debtors
                    reserve the right to dispute, or to assert setoff rights, counterclaims or
                    defenses to, any claim reflected on its Schedules and Statements as to
                    amount, liability or classification, or to otherwise subsequently designate any
                    claim as “disputed,” “contingent” or “unliquidated.”




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            (b)   Listing a claim on the Schedules and Statements as “secured” does not
                  constitute an admission by the Debtors of the legal rights of the claimant, or
                  a waiver of the Debtors’ right to reclassify such claim or contract.
                  Moreover, although the Debtors may have scheduled claims of various
                  creditors as secured claims for informational purposes, no current valuation
                  of the Debtors’ assets in which such creditors may have a lien has been
                  undertaken. The Debtors reserve all rights to dispute or challenge the
                  secured nature of any such creditor’s claims or the characterization of the
                  structure of any transaction, or any document or instrument related to such
                  creditor’s claim.

            (c)   Listing a claim on the Schedules and Statements as “unsecured priority” does
                  not constitute an admission by the Debtors of the legal rights of the claimant.
                  The Debtors hereby expressly reserve the right to assert that any claim listed
                  as unsecured priority does not constitute an unsecured priority claim under
                  section 507 of the Bankruptcy Code and thus constitutes an unsecured
                  nonpriority claim.

            (d)   The Debtors’ businesses are part of a complex enterprise. Although the
                  Debtors have made every effort to ensure the accuracy of their Schedules and
                  Statements, inadvertent errors, omissions or inclusion may have occurred.
                  The Debtors hereby reserve all of their rights to dispute the validity, status or
                  enforceability of any contracts, agreements or leases set forth on the
                  Schedules and Statements and to amend further or supplement the Schedules
                  and Statements as necessary.

            (e)   The Debtors further reserve all of their rights, claims and causes of action
                  with respect to the contracts and agreements listed on the Schedules and
                  Statements, including the right to dispute or challenge the characterization or
                  the structure of any transaction, document or instrument related to a
                  creditor’s claim.

            (f)   Debtors may not have identified certain guarantees associated with the
                  Debtors’ executory contracts, unexpired leases, and other such agreements.
                  The Debtors reserve all of their rights to amend the Schedules to the extent
                  that additional guarantees are identified or such guarantees are discovered to
                  have expired or be unenforceable. In the ordinary course of their businesses,
                  the Debtors may be involved in pending or threatened litigation. These
                  matters may involve multiple plaintiffs and defendants, some or all of whom


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                  may assert cross-claims and counter-claims against other parties. Because
                  all such claims are contingent, disputed and/or unliquidated, such claims
                  have not been set forth individually on Schedule H. Litigation matters can
                  be found on each Debtor’s Schedule F and Statement 7, as applicable. It is
                  possible that certain guaranties embedded in the Debtors’ executory
                  contracts, unexpired leases, secured financings, debt instruments, and other
                  such agreements may have been inadvertently omitted. The Debtors reserve
                  their rights to amend the Schedules and Statements to the extent additional
                  guaranties are identified. In addition, the Debtors reserve the right to amend
                  the Schedules and Statements and to recharacterize or reclassify any such
                  contract or claim, whether by amending the Schedules and Statements or in
                  another appropriate filing.

            (g)   Despite their commercially reasonable efforts to identify all known assets,
                  the Debtors may not have listed all of their causes of action or potential
                  causes of action against third-parties as assets in the Schedules and
                  Statements, including, without limitation, causes of actions arising under the
                  provisions of chapter 5 of the Bankruptcy Code and any other relevant
                  non-bankruptcy laws to recover assets or avoid transfers. The Debtors
                  reserve all of their rights with respect to any cause of action (including
                  avoidance actions), controversy, right of setoff, cross claim, counterclaim, or
                  recoupment and any claim on contracts or for breaches of duties imposed by
                  law or in equity, demand, right, action, lien, indemnity, guaranty, suit,
                  obligation, liability, damage, judgment, account, defense, power, privilege,
                  license, and franchise of any kind or character whatsoever, known, unknown,
                  fixed or contingent, matured or unmatured, suspected or unsuspected,
                  liquidated or unliquidated, disputed or undisputed, secured or unsecured,
                  assertable directly or derivatively, whether arising before, on, or after the
                  Petition Date, in contract or in tort, in law or in equity, or pursuant to any
                  other theory of law (collectively, “Causes of Action”) they may have, and
                  neither these Global Notes nor the Schedules and Statements shall be
                  deemed a waiver of any claims or Causes of Action or in any way prejudice
                  or impair the assertion of such claims or Causes of Action.

            (h)   Although the Debtors made diligent attempts to attribute an executory
                  contract to its rightful Debtor, in certain instances, the Debtors may have
                  inadvertently failed to do so due to the complexity and size of the Debtors’
                  businesses. The placing of a contract or lease onto the Debtors’ Schedules
                  shall not be deemed an admission that such contract is an executory contract


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                    or unexpired lease, or that it is necessarily a binding, valid and enforceable
                    contract. The Debtors hereby expressly reserve the right to assert that any
                    contract listed on the Debtors’ Schedules does not constitute an executory
                    contract within the meaning of section 365 of the Bankruptcy Code.

              (i)   Exclusion of certain intellectual property shall not be construed as an
                    admission that such intellectual property rights have been abandoned,
                    terminated, assigned, expired by their terms, or otherwise transferred
                    pursuant to a sale, acquisition, or other transaction.

 6.     Excluded Assets and Liabilities. The Debtors have excluded rejection damage claims
 of counterparties to executory contracts and unexpired leases that may or may not be rejected,
 to the extent such damage claims exist. In addition, certain immaterial assets and liabilities
 may have been excluded.

 7.      Insiders. For purposes of the Schedules and Statements, the Debtors defined “insiders”
 pursuant to section 101(31) of the Bankruptcy Code as: (a) directors; (b) officers; (c) persons in
 control of the Debtors; (d) relatives of the Debtors’ directors, officers, or persons in control of
 the Debtors; and (e) debtor/non-debtor affiliates of the foregoing. Persons listed as “insiders”
 have been included for informational purposes only and by including them in the Schedules,
 shall not constitute an admission that those persons are insiders for purposes of section 101(31)
 of the Bankruptcy Code. Moreover, the Debtors do not take any position with respect to: (a)
 any insider’s influence over the control of the Debtors; (b) the management responsibilities or
 functions of any such insider; (c) the decision making or corporate authority of any such
 insider; or (d) whether the Debtors or any such insider could successfully argue that he or she is
 not an “insider” under applicable law or with respect to any theories of liability or for any other
 purpose.

 8.      Summary of Significant Reporting Policies. The following is a summary of
 significant reporting policies:

              (a)   Undetermined Amounts. The description of an amount as “unknown,”
                    “TBD,” or “undetermined” is not intended to reflect upon the materiality of
                    such amount.

              (b)   Totals. All totals that are included in the Schedules and Statements represent
                    totals of all known amounts. To the extent there are unknown or
                    undetermined amounts, the actual total may be different than the listed total.




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              (c)   Liens. Property and equipment listed in the Schedules and Statements are
                    presented without consideration of any liens that may attach (or have
                    attached) to such property and equipment.

 9.     Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

 10.     Confidential Information. In order to maintain the privacy of their employees and
 customers, the Debtors have deemed it necessary and appropriate to redact address information
 for individuals for purposes of public filings. Unredacted versions of the document have been
 made available to the Bankruptcy Court and the United States Trustee.

 11.    Global Notes Control. In the event that the Schedules and Statements differ from these
 Global Notes, the Global Notes shall control.



 Specific Disclosures with Respect to the Debtors’ Schedules

 Schedule A/B.3. The bank account balances listed are as of the Petition Date.

 Schedule A/B. 6-9. In the books and records of the Debtors, deposits and prepaids are included
 in one trial balance amount. Specific detail regarding counterparties has been identified where
 available. Due to the consolidation of the Debtors’ financial records, all items have been listed
 as assets of Debtor Legendary Field Exhibitions, LLC (“LFE”). Amounts presented are as of
 the date of the Debtors’ most recently completed financial statements. However, given the
 timing difference between the financial statements and the Petition Date, it is likely that many
 of the prepaid assets and security deposits have been utilized or otherwise applied against
 outstanding payables and therefore values provided herein may be overstated.

 Schedule A/B.11. Accounts receivable are presented based on book value as of April 9, 2019.
 Such accounts receivable have not been adjusted to reflect any counterclaims or set-offs that
 customers may assert based on breach of contract or other disputes.

 Schedule A/B.39 - 41. A full detailed listing of the Debtors’ furniture, fixtures and equipment
 owned by the Debtors as of the Petition Date was not available at the time the Schedules were
 prepared. A listing of those assets that were listed on the Debtors’ books and records as of the
 date that the last financial statements were prepared has been provided as an exhibit for Debtor
 LFE. As of the Petition Date, certain items may have been in transit from other corporate
 locations to the central storage facility located in San Antonio, TX.



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 Schedule A/B.50. A detailed listing of the Debtors’ video production and other equipment was
 not available at the time that the Schedules were prepared. As of the Petition Date, certain items
 may have been in transit from other corporate locations to the central storage facility located in
 San Antonio, TX.

 Schedule A/B.60 - 64. The Debtors have used reasonable efforts to report trademarks, patents
 and intellectual property that are assets of the Debtors. However, much of the information
 surrounding the Debtors’ intellectual property resides with Morgan Lewis & Bockius LLP
 (“Morgan Lewis”), the Debtors’ former legal advisor. This information has been requested
 from Morgan Lewis, but had not been received as of the date that the Schedules and Statements
 were prepared. Further, without this information it is unclear as to ownership of trademarks
 and certain other IP between ESMG, LFE and AAF Properties, LLC. As such, out of an
 abundance of caution these assets have been listed for each of the Debtors. Licensing
 agreements have been reflected on the Debtors’ Schedule G, and not presented separately on
 Schedule A/B as reasonable estimates of value are not available.

 Schedule D. The descriptions provided on Schedule D are intended only as a summary.
 Reference to the applicable loan agreements and related documents is necessary for a complete
 description of the collateral and the nature, extent and priority of any liens. Nothing in these
 Global Notes or in the Schedules and Statements shall be deemed a modification or
 interpretation of the terms of such agreements or related documents.

 Schedule E/F. The Debtors have listed all known taxing authorities for each Debtor. These tax
 claims are, or may in the future be subject to audits, and the Debtors are unable to determine with
 certainty the amount of the tax claims listed on Schedule E/F. In addition, there may be other
 contingent, unliquidated claims from state and local taxing authorities, not all of which are listed.

 The claims of individual creditors for, among other things, goods, products, services, or taxes are
 listed as the amounts entered on the Debtors’ books and records and may not reflect credits,
 allowances, or other adjustments due from such creditors to the Debtors. Amounts presented
 herein are based on the Debtors’ best efforts to determine amounts owed to creditors as of the
 Petition Date. Amounts owed to vendors for certain goods in transit which have not yet been
 received at the Debtors’ facilities, or for services provided where invoices have not been
 received, may be understated due to lack of sufficient information. Further, a substantial portion
 of the Debtors business was transacted through vendors directly charging the Debtors’ corporate
 credit cards. Such amounts which may be owed are not included in the Debtors’ current
 accounts payable reports.




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 Schedule G. The Debtors have used reasonable efforts to report all executory contracts of the
 Debtors. However, much of the information surrounding the Debtors’ contracts resides with
 Morgan Lewis. This information has been requested from Morgan Lewis, but had not been
 received as of the date that the Schedules and Statements were prepared.

 Although commercially reasonable efforts have been made to ensure the accuracy of Schedule
 G regarding executory contracts and unexpired leases, the Debtors’ review is ongoing at the
 time of the filing of the Schedules and Statements and inadvertent errors, omissions or
 over-inclusion may have occurred in preparing Schedule G. Despite best efforts, in some
 instances, the Debtors may not have been able to identify which Debtor entity is party to a
 particular contract. Any such contracts have been listed in Schedule G for LFE. Contracts
 reflected on Schedule G do not reflect the impact of any counterparty’s assertion of termination
 due to breach of contract or cessation of operations. The Debtors hereby expressly reserve the
 right to assert that any instrument listed on Schedule G is or is not an executory contract within
 the meaning of section 365 of the Bankruptcy Code. The Debtors reserve all of their rights,
 claims, and causes of action with respect to claims associated with any contract or agreement
 listed on Schedule G, including their right to dispute or challenge the characterization or the
 structure of any transaction, document, or instrument (including any intercompany agreement)
 related to a creditor’s claim.

 Certain of the contracts and agreements listed on Schedule G may consist of several parts,
 including, purchase orders, amendments, restatements, waivers, letters, and other documents
 that may not be listed on Schedule G or that may be listed as a single entry.

 Certain of the contracts, agreements, and leases listed on Schedule G may have expired or may
 have been modified, amended, or supplemented from time to time by various amendments,
 restatements, waivers, estoppel certificates, letters, memoranda, and other documents,
 instruments, and agreements that may not be listed therein despite the Debtors’ use of
 reasonable efforts to identify such documents. Further, unless otherwise specified on Schedule
 G, each executory contract or unexpired lease listed thereon shall include all exhibits,
 schedules, riders, modifications, declarations, amendments, supplements, attachments,
 restatements, or other agreements made directly or indirectly by any agreement, instrument, or
 other document that in any manner affects such executory contract or unexpired lease, without
 respect to whether such agreement, instrument, or other document is listed thereon. In some
 cases, the same supplier or provider appears multiple times on Schedule G. This multiple listing
 is intended to reflect distinct agreements between the applicable Debtor and such supplier or
 provider.




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 Schedule H. The Debtors may not have identified certain guarantees associated with the
 Debtors’ executory contracts, unexpired leases, and other such agreements. The Debtors reserve
 all of their rights to amend the Schedules to the extent that additional guarantees are identified or
 any scheduled guarantees are discovered to have expired or be unenforceable. In the ordinary
 course of their businesses, the Debtors may be involved in pending or threatened litigation.
 These matters may involve multiple plaintiffs and defendants, some or all of whom may assert
 cross-claims and counter-claims against other parties. Because all such claims are contingent,
 disputed and/or unliquidated, such claims have not been set forth individually on Schedule H.
 Litigation matters can be found on each Debtor’s Schedule F and Statement 7, as applicable.


 Specific Disclosures with Respect to the Debtors’ Statements



 Statement 3. In Statement 3, disbursements made on account of multiple invoices may be
 reflected as a single payment. Transactions listed on Statement 3 have been derived from
 certain reports generated from the Debtors’ banking and online bill payment systems that were
 the best information available as of the date of this report. For several payment instances,
 information relating to the payment party is generic and was unable to be identified to a specific
 counterparty. Such payments have been listed with as much information as was available in the
 banking reports. In certain instances, interbank transfers may have inadvertently been listed.

 As previously described, the Debtors’ books and records are kept on a consolidated basis. The
 only Debtor entities with bank accounts are ESMG and LFE. Payments, such as payroll, which
 may have benefitted other Debtor entities were not tracked separately as intercompany
 receivables/payables. As such, payments listed in Statement 3 have been listed only by the
 payor entity.

 Statement 4. Directors and officers listed as transferees in Statement 4 may be (i) directors or
 officers of ESMG and another Debtor or non-Debtor affiliate. Any payments or other transfers
 of property made within 1 year before the Petition Date to such directors and officers have only
 been listed by LFE as the payor entity. Such payments have not been duplicated for each Debtor
 entity a director or officer served or may have served. Statement 4 does not include payments
 made to certain employee benefit providers in the ordinary course for the benefit of employee
 insiders.

 Statement 7. The Debtors have used reasonable efforts to report all legal actions, proceedings,
 investigations, arbitrations, mediations, and audits by federal or state agencies in which the


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 Debtors were involved in any capacity within one year before the Petition Date. However, much
 of the information surrounding the Debtors’ legal affairs resides with Morgan Lewis. This
 information has been requested from Morgan Lewis, but had not been received as of the date that
 the Schedules and Statements were prepared.

 Statement 10. Amounts listed herein were for events that were reported and/or tracked for
 insurance purposes. De minimis losses are not separately tracked by the Debtors and were not
 included on Statement 10.

 Statement 11. All disbursements listed in Statement 11 were initiated and disbursed by ESMG,
 but were for the benefit of all Debtors. Such payments have been listed only at ESMG and not
 duplicated across all Debtors.

 Statement 20. As of the Petition Date, the Debtors’ furniture, fixtures, production and
 operating equipment were either located in or being transported to the central storage location
 in San Antonio, TX.

 Statement 26d. Over the prior two years, the Debtors have provided their financial statements
 to various parties, including potential lenders, investors, vendors, government entities and other
 interested parties. No efforts were made to keep records of parties provided with this
 information.

 Statement 30. Any and all known disbursements to insiders of the Debtors, as defined above,
 have been listed in the response to SOFA 4. The items listed under SOFA 30 incorporate by
 reference any items listed under SOFA 4, and vice versa.




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                                                   58
 Fill in this information to identify the case:

                      AAF Properties, LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                       Western
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                Texas
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                         N/A
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                               Unknown
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                   Unknown
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                  $7,000,000.00
                                                                                                                                                                                                $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                  N/A
                                                                                                                                                                                                $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
                                                                                                                                                                                            +     Unknown
                                                                                                                                                                                                $ ________________
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................




4.   Total liabilities...................................................................................................................................................................         7,000,000.00
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                                               58
  Fill in this information to identify the case:

              AAF Properties, LLC
  Debtor name __________________________________________________________________

                                         Western
  United States Bankruptcy Court for the:_______________________             Texas
                                                                 District of ________
                                                                             (State)
  Case number (If known):     _________________________                                                                               Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                   $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
   3.1. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1
                                                                                                                                  $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

         No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                    page 1
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              AAF Properties, LLC
Debtor       _______________________________________________________
             Name
                                                                     58 Case number (if known)_____________________________________




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........ Î                $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........ Î                $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
     No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________




17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
Debtor
              AAF Properties,
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             _______________________________________________________ 58
                                                                                       Main Document Pg 27 of
                                                                        Case number (if known)_____________________________________
             Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last     Net book value of     Valuation method used     Current value of
                                                    physical inventory   debtor's interest     for current value         debtor’s interest
                                                                         (Where available)
19. Raw materials
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                     $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                Net book value of     Valuation method used     Current value of debtor’s
                                                                         debtor's interest     for current value         interest
                                                                         (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________         $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________         $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________         $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________         $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________         $________________     ____________________    $______________________


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Debtor       _______________________________________________________
             Name
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33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

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Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________    ____________________    $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
          No
          Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
          No
          Yes




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             Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55.1________________________________________            _________________     $_______________     ____________________     $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    See Schedule A/B: Part 10: Questions 60-65
    ______________________________________________________________                $_________________   ______________________
                                                                                                                                  Unknown
                                                                                                                                $____________________

61. Internet domain names and websites
     See Schedule A/B: Part 10: Questions 60-65
    ______________________________________________________________                $_________________   ______________________
                                                                                                                                  Unknown
                                                                                                                                 $____________________

62. Licenses, franchises, and royalties
    See Schedule A/B: Part 10: Questions 60-65
    ______________________________________________________________                $_________________   ______________________
                                                                                                                                  Unknown
                                                                                                                                 $____________________

63. Customer lists, mailing lists, or other compilations
    See Schedule A/B: Part 10: Questions 60-65
    ______________________________________________________________                $_________________   ______________________
                                                                                                                                  Unknown
                                                                                                                                 $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________
    See Schedule A/B: Part 10: Questions 60-65                                     $________________   _____________________      Unknown
                                                                                                                                $____________________
65. Goodwill
    See Schedule A/B: Part 10: Questions 60-65
    ______________________________________________________________                 $________________   _____________________      Unknown
                                                                                                                                $____________________

66. Total of Part 10.                                                                                                             Unknown
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




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67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                                   Current value of
                                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                                     N/A
                                                                                    _______________     –    N/A
                                                                                                            __________________________         =Î    N/A
     N/A
    ______________________________________________________                                                                                          $_____________________
                                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)
    N/A
    _________________________________________________________________________________                                               N/A
                                                                                                                          Tax year ___________       N/A
                                                                                                                                                    $_____________________
     N/A
    _________________________________________________________________________________                                               N/A
                                                                                                                          Tax year ___________       N/A
     N/A                                                                                                                                            $_____________________
    _________________________________________________________________________________                                               N/A
                                                                                                                          Tax year ___________       N/A
                                                                                                                                                    $_____________________

73. Interests in insurance policies or annuities
     See Schedule A/B: Part 11, Question 73 - Interests in Insurance policies or annuities
    ______________________________________________________________                                                                                   Unknown
                                                                                                                                                    $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    N/A
    ______________________________________________________________                                                                                   N/A
                                                                                                                                                    $_______________________
    Nature of claim                       N/A
                                         ___________________________________

    Amount requested                      N/A
                                         $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    N/A
    ______________________________________________________________                                                                                   N/A
                                                                                                                                                    $_______________________

    Nature of claim                       N/A
                                         ___________________________________

    Amount requested                      N/A
                                         $________________

76. Trusts, equitable or future interests in property
    N/A
    ______________________________________________________________                                                                                     N/A
                                                                                                                                                     $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   N/A
   ____________________________________________________________                                                                                       N/A
                                                                                                                                                    $_____________________
   N/A
   ____________________________________________________________                                                                                       N/A
                                                                                                                                                    $_____________________

78. Total of Part 11.
                                                                                                                                                     Unknown
                                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes

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Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                          Current value
                                                                                                      personal property                         of real property
                                                                                                          0.00
                                                                                                         $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

                                                                                                          0.00
                                                                                                         $_______________
81. Deposits and prepayments. Copy line 9, Part 2.

                                                                                                          0.00
                                                                                                         $_______________
82. Accounts receivable. Copy line 12, Part 3.

                                                                                                          0.00
                                                                                                         $_______________
83. Investments. Copy line 17, Part 4.
                                                                                                          0.00
                                                                                                         $_______________
84. Inventory. Copy line 23, Part 5.
                                                                                                          0.00
                                                                                                         $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                          0.00
                                                                                                         $_______________
     Copy line 43, Part 7.
                                                                                                          0.00
                                                                                                         $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

                                                                                                                                                 0.00
                                                                                                                                                $________________
88. Real property. Copy line 56, Part 9. . ..................................................................................... Î
                                                                                                          Unknown
                                                                                                         $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                                        +     Unknown
                                                                                                         $_______________

                                                                                                          Unknown                                 Unknown
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            +   91b.
                                                                                                                                                $________________




                                                                                          Unknown
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................
                                                                                                                                                                     Unknown
                                                                                                                                                                    $__________________




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                                                  In re AAF Properties
                                                        Case No.
                       Schedule A/B: Part 10: Questions 60-65 - Intangibles and intellectual property

 Debtor Name          General                Description          Net Book Value        Valuation Method Current Value of
                   Description of                                   of Debtor's         Used for Current    Debtor's
                      Property                                        Interest                Value          Interest
AAF Properties   Trademark          A Logo - Australia - A0075374    Unknown                                Unknown
LLC
AAF Properties   Trademark          AAF - Australia - A0075372          Unknown                              Unknown
LLC
AAF Properties   Trademark          ALLIANCE - Australia -              Unknown                              Unknown
LLC                                 A0075370
AAF Properties   Trademark          ALLIANCE AF - Australia -           Unknown                              Unknown
LLC                                 A0075371
AAF Properties   Trademark          ALLIANCE OF AMERICAN                Unknown                              Unknown
LLC                                 FOOTBALL - Australia -
                                    A0075373
AAF Properties   Trademark          THEAAF - Australia -                Unknown                              Unknown
LLC                                 A0075375
AAF Properties   Trademark          A Logo - Canada - 1898132           Unknown                              Unknown
LLC
AAF Properties   Trademark          AAF - Canada - 1898129              Unknown                              Unknown
LLC
AAF Properties   Trademark          ALLIANCE - Canada -                 Unknown                              Unknown
LLC                                 1898127
AAF Properties   Trademark          ALLIANCE AF - Canada -              Unknown                              Unknown
LLC                                 1898128
AAF Properties   Trademark          ALLIANCE OF AMERICAN                Unknown                              Unknown
LLC                                 FOOTBALL - Canada -
                                    1898130
AAF Properties   Trademark          ARIZONA HOT SHOTS -                 Unknown                              Unknown
LLC                                 Canada - 1925776
AAF Properties   Trademark          Arizona Primary Logo -              Unknown                              Unknown
LLC                                 Canada - 1925874
AAF Properties   Trademark          ATLANTA LEGENDS -                   Unknown                              Unknown
LLC                                 Canada - 1925775
AAF Properties   Trademark          Atlanta Primary Logo -              Unknown                              Unknown
LLC                                 Canada - 1925872
AAF Properties   Trademark          BIRMINGHAM IRON - Canada            Unknown                              Unknown
LLC                                 - 1925774
AAF Properties   Trademark          Birmingham Primary Logo -           Unknown                              Unknown
LLC                                 Canada - 1925869
AAF Properties   Trademark          MEMPHIS EXPRESS -                   Unknown                              Unknown
LLC                                 Canada - 1925773
AAF Properties   Trademark          Memphis Primary Logo -              Unknown                              Unknown
LLC                                 Canada - 1925868
AAF Properties   Trademark          ORLANDO APOLLOS -                   Unknown                              Unknown
LLC                                 Canada - 1925772
AAF Properties   Trademark          Orlando Primary Logo -              Unknown                              Unknown
LLC                                 Canada - 1925780
AAF Properties   Trademark          SALT LAKE STALLIONS -               Unknown                              Unknown
LLC                                 Canada - 1925771
AAF Properties   Trademark          Salt Lake Primary Logo -            Unknown                              Unknown
LLC                                 Canada - 1925779
AAF Properties   Trademark          SAN ANTONIO                         Unknown                              Unknown
LLC                                 COMMANDERS - Canada -
                                    1925769
AAF Properties   Trademark          San Antonio Primary Logo -          Unknown                              Unknown
LLC                                 Canada - 1926506
AAF Properties   Trademark          SAN DIEGO FLEET - Canada -          Unknown                              Unknown
LLC                                 1925770
AAF Properties   Trademark          San Diego Primary Logo -            Unknown                              Unknown
LLC                                 Canada - 1925777
AAF Properties   Trademark          THEAAF - Canada - 1898131           Unknown                              Unknown
LLC
AAF Properties   Trademark          A Logo - China - A0075374           Unknown                              Unknown
LLC
AAF Properties   Trademark          AAF - China - A0075372              Unknown                              Unknown
LLC



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 Debtor Name          General                Description            Net Book Value      Valuation Method Current Value of
                   Description of                                     of Debtor's       Used for Current    Debtor's
                      Property                                          Interest              Value          Interest
AAF Properties   Trademark          ALLIANCE - China -                 Unknown                              Unknown
LLC                                 A0075370
AAF Properties   Trademark          ALLIANCE AF - China -               Unknown                              Unknown
LLC                                 A0075371
AAF Properties   Trademark          ALLIANCE OF AMERICAN                Unknown                              Unknown
LLC                                 FOOTBALL - China -
                                    A0075373
AAF Properties   Trademark          THEAAF - China - A0075375           Unknown                              Unknown
LLC
AAF Properties   Trademark          A Logo - EU - A0075374              Unknown                              Unknown
LLC
AAF Properties   Trademark          AAF - EU - A0075372                 Unknown                              Unknown
LLC
AAF Properties   Trademark          ALLIANCE - EU - 1428325             Unknown                              Unknown
LLC
AAF Properties   Trademark          ALLIANCE AF - EU -                  Unknown                              Unknown
LLC                                 A0075371
AAF Properties   Trademark          ALLIANCE OF AMERICAN                Unknown                              Unknown
LLC                                 FOOTBALL - EU - A0075373
AAF Properties   Trademark          THEAAF - EU - A0075375              Unknown                              Unknown
LLC
AAF Properties   Trademark          A Logo - India - A0075374           Unknown                              Unknown
LLC
AAF Properties   Trademark          AAF - India - A0075372              Unknown                              Unknown
LLC
AAF Properties   Trademark          ALLIANCE - India - A0075370         Unknown                              Unknown
LLC
AAF Properties   Trademark          ALLIANCE AF - India -               Unknown                              Unknown
LLC                                 A0075371
AAF Properties   Trademark          ALLIANCE OF AMERICAN                Unknown                              Unknown
LLC                                 FOOTBALL - India -
                                    A0075373
AAF Properties   Trademark          THEAAF - India - A0075375           Unknown                              Unknown
LLC
AAF Properties   Trademark          A Logo - Japan - A0075374           Unknown                              Unknown
LLC
AAF Properties   Trademark          AAF - Japan - A0075372              Unknown                              Unknown
LLC
AAF Properties   Trademark          ALLIANCE - Japan -                  Unknown                              Unknown
LLC                                 A0075370
AAF Properties   Trademark          ALLIANCE AF - Japan -               Unknown                              Unknown
LLC                                 A0075371
AAF Properties   Trademark          ALLIANCE OF AMERICAN                Unknown                              Unknown
LLC                                 FOOTBALL - Japan -
                                    A0075373
AAF Properties   Trademark          THEAAF - Japan - A0075375           Unknown                              Unknown
LLC
AAF Properties   Trademark          A Logo - Mexico - A0075374          Unknown                              Unknown
LLC
AAF Properties   Trademark          AAF - Mexico - A0075372             Unknown                              Unknown
LLC
AAF Properties   Trademark          ALLIANCE - Mexico -                 Unknown                              Unknown
LLC                                 A0075370
AAF Properties   Trademark          ALLIANCE AF - Mexico -              Unknown                              Unknown
LLC                                 A0075371
AAF Properties   Trademark          ALLIANCE OF AMERICAN                Unknown                              Unknown
LLC                                 FOOTBALL - Mexico -
                                    A0075373
AAF Properties   Trademark          THEAAF - Mexico - A0075375          Unknown                              Unknown
LLC
AAF Properties   Trademark          AAF - USA - 87799542                Unknown                              Unknown
LLC




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                                                  In re AAF Properties
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                       Schedule A/B: Part 10: Questions 60-65 - Intangibles and intellectual property

 Debtor Name          General                Description            Net Book Value      Valuation Method Current Value of
                   Description of                                     of Debtor's       Used for Current    Debtor's
                      Property                                          Interest              Value          Interest
AAF Properties   Trademark          ALLIANCE - USA - 87799528          Unknown                              Unknown
LLC
AAF Properties   Trademark          ALLIANCE AF - USA -                 Unknown                              Unknown
LLC                                 87799536
AAF Properties   Trademark          ALLIANCE OF AMERICAN                Unknown                              Unknown
LLC                                 FOOTBALL - USA - 87799550

AAF Properties   Trademark          ARIZONA HOT SHOTS - USA             Unknown                              Unknown
LLC                                 - 88125840
AAF Properties   Trademark          ARIZONA HOTSHOTS                    Unknown                              Unknown
LLC                                 Stylized (A&Z) - USA -
                                    88126028
AAF Properties   Trademark          ATL Stylized - USA -                Unknown                              Unknown
LLC                                 88122462
AAF Properties   Trademark          ATLANTA LEGENDS - USA -             Unknown                              Unknown
LLC                                 88122412
AAF Properties   Trademark          ATLANTA LEGENDS Stylized -          Unknown                              Unknown
LLC                                 USA - 88122437
AAF Properties   Trademark          BIRMINGHAM IRON - USA -             Unknown                              Unknown
LLC                                 88122416
AAF Properties   Trademark          BIRMINGHAM Stylized - USA -         Unknown                              Unknown
LLC                                 88122446
AAF Properties   Trademark          CAN'T STOP GREATNESS -              Unknown                              Unknown
LLC                                 USA - 88145307
AAF Properties   Trademark          Design (horse head) - USA -         Unknown                              Unknown
LLC                                 88126082
AAF Properties   Trademark          Design (shield and sword) -         Unknown                              Unknown
LLC                                 USA - 88126015
AAF Properties   Trademark          Design (ship inside shield) -       Unknown                              Unknown
LLC                                 USA - 88126089
AAF Properties   Trademark          FANCHISE - USA - 87924465           Unknown                              Unknown
LLC
AAF Properties   Trademark          LEGENDS Stylized - USA -            Unknown                              Unknown
LLC                                 88122523
AAF Properties   Trademark          Logo - USA - 87799560               Unknown                              Unknown
LLC
AAF Properties   Trademark          MEMPHIS EXPRESS - USA -             Unknown                              Unknown
LLC                                 88122419
AAF Properties   Trademark          MEMPHIS EXPRESS Stylized            Unknown                              Unknown
LLC                                 - USA - 88122450
AAF Properties   Trademark          ORLANDO APOLLOS - USA -             Unknown                              Unknown
LLC                                 88122424
AAF Properties   Trademark          ORLANDO APOLLOS                     Unknown                              Unknown
LLC                                 Stylized - USA - 88122456
AAF Properties   Trademark          PLAYR and Design - USA -            Unknown                              Unknown
LLC                                 88122387
AAF Properties   Trademark          SALT LAKE STALLIONS -               Unknown                              Unknown
LLC                                 USA - 88125828
AAF Properties   Trademark          SALT LAKE STALLIONS                 Unknown                              Unknown
LLC                                 Stylized - USA - 88126062
AAF Properties   Trademark          SAN ANTONIO                         Unknown                              Unknown
LLC                                 COMMANDERS - USA -
                                    88125795
AAF Properties   Trademark          SAN ANTONIO                         Unknown                              Unknown
LLC                                 COMMANDERS Stylized -
                                    USA - 88125999
AAF Properties   Trademark          SAN DIEGO FLEET - USA -             Unknown                              Unknown
LLC                                 88125816
AAF Properties   Trademark          SAN DIEGO FLEET Stylized -          Unknown                              Unknown
LLC                                 USA - 88126069
AAF Properties   Trademark          Stylized “A” (crown) - USA -        Unknown                              Unknown
LLC                                 88122469




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 Debtor Name          General                     Description                Net Book Value   Valuation Method Current Value of
                   Description of                                              of Debtor's    Used for Current    Debtor's
                      Property                                                   Interest           Value          Interest
AAF Properties   Trademark               Stylized “A” & “Z” (circle) -          Unknown                           Unknown
LLC                                      USA - 88126034
AAF Properties   Trademark               Stylized “A” & “Z” (crossed            Unknown                            Unknown
LLC                                      axes) - USA - 88126055
AAF Properties   Trademark               Stylized “A” & “Z” (shield) -          Unknown                            Unknown
LLC                                      USA - 88126047
AAF Properties   Trademark               Stylized “B” & “I” (interwoven) -      Unknown                            Unknown
LLC                                      USA - 88122478

AAF Properties   Trademark               Stylized “B” (football) - USA -        Unknown                            Unknown
LLC                                      88122533
AAF Properties   Trademark               Stylized “E” (airplane) - USA -        Unknown                            Unknown
LLC                                      88122540
AAF Properties   Trademark               Stylized “M” (football line) -         Unknown                            Unknown
LLC                                      USA - 88122484
AAF Properties   Trademark               Stylized “O” (person with bow-         Unknown                            Unknown
LLC                                      arrow) - USA - 88122550

AAF Properties   Trademark               THEAAF - USA - 87801104                Unknown                            Unknown
LLC
AAF Properties   Trademark               A Logo - WIPO - 1428364                Unknown                            Unknown
LLC
AAF Properties   Trademark               AAF - WIPO - 1428296                   Unknown                            Unknown
LLC
AAF Properties   Trademark               ALLIANCE - WIPO - 1428325              Unknown                            Unknown
LLC
AAF Properties   Trademark               ALLIANCE AF - WIPO -                   Unknown                            Unknown
LLC                                      A0075371
AAF Properties   Trademark               ALLIANCE OF AMERICAN                   Unknown                            Unknown
LLC                                      FOOTBALL - WIPO - 1428334

AAF Properties   Trademark               THEAAF - WIPO - A0075375               Unknown                            Unknown
LLC
AAF Properties   Internet domain                                                Unknown                            Unknown
LLC              names and
                 websites
AAF Properties   Mobile gaming and                                              Unknown                            Unknown
LLC              technology
                 platforms
AAF Properties   Miscellaneous                                                  Unknown                            Unknown
LLC              other patents and
                 intellectual property




                                                                     Page 4 of 4
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                                        58


                                       In re AAF Properties LLC

                                               Case No.

            Schedule A/B: Part 11, Question 73 – Interests in insurance policies or annuities



                                                                                    Current Value of
        Debtor Name                               Description                       Debtor's Interest
  AAF Properties LLC         Commercial Property                                       Unknown
  AAF Properties LLC         Inland Marine                                             Unknown
  AAF Properties LLC         General Liability Incl. Hired & Non-Owned Auto            Unknown
  AAF Properties LLC         Primary Excess Liability - $10m xs Primary                Unknown
  AAF Properties LLC         Excess Liability - 1st Layer - $15M xs $10M               Unknown
  AAF Properties LLC         Excess Liability - 2nd Layer - $25M xs $25M               Unknown
  AAF Properties LLC         Participant Accident Coverage (Youth Camps)               Unknown
  AAF Properties LLC         Cyber Liability / Tech E&O - $5M                          Unknown
  AAF Properties LLC         Non-Owned Aircraft /Unmanned Aircraft Liability           Unknown
  AAF Properties LLC         Directors & Officers - $1M xs $1M                         Unknown
  AAF Properties LLC         Directors & Officers - $3M xs $2M                         Unknown
  AAF Properties LLC         Employment Practices - $1M                                Unknown
  AAF Properties LLC         Excess Employment Practices - $1M xs $1M                  Unknown
  AAF Properties LLC         Fiduciary Liability - $1M                                 Unknown
  AAF Properties LLC         Excess Fiduciary - $1M xs $1M                             Unknown
  AAF Properties LLC         Commercial Crime - $2M                                    Unknown
  AAF Properties LLC         Allied Healthcare                                         Unknown




                                                  1 of 1
           19-50903-rbk Doc#1 Filed 04/17/19 Entered 04/17/19 13:56:29 Main Document Pg 38 of
  Fill in this information to identify the case:
                                                   58
                 AAF Properties, LLC
  Debtor name __________________________________________________________________
                                          Western
  United States Bankruptcy Court for the: ______________________             Texas
                                                                 District of _________
                                                                                        (State)

  Case number (If known):      _________________________
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     MGM Resorts International Operations, Inc.
     __________________________________________                                                                      7,000,000.00                         Unknown
                                                                 Security interest in all Intellectual Property
                                                                ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
      ATTN: Scott Butera, President Interactive Gaming 3600
     ________________________________________________________   ___________________________________________________
      Las Vegas Blvd. South, Las Vegas, NV 89109
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
                                                                  Security interest in all Intellectual Property


    Creditor’s email address, if known                          Is the creditor an insider or related party?
     Unknown
     _________________________________________
                                                                   No
                                                                   Yes
                            Unknown
    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred __________________                   Is anyone else liable on this claim?
                                                                   No
    Last 4 digits of account
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  7,000,000.00
                                                                                                                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of ___
                                                                                                                                                                      1
          19-50903-rbk Doc#1 Filed 04/17/19 Entered 04/17/19 13:56:29 Main Document Pg 39 of
   Fill in this information to identify the case: 58
   Debtor            AAF Properties, LLC
                    __________________________________________________________________

   United States Bankruptcy Court for the: ______________________
                                           Western                District of __________
                                                                              Texas
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                   Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
                                                                                                                                                                  1
  Debtor
           19-50903-rbk      Doc#1
                AAF Properties,  LLC Filed 04/17/19 Entered 04/17/19 13:56:29
               _______________________________________________________
                                                                                         Main Document Pg 40 of
                                                                          Case number (if known)_____________________________________
               Name                                                    58
 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                        Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                                                                                        7,000,000.00
                                                                                                                                      $________________________________
     MGM Resorts International Operations, Inc.
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
     ATTN: Scott Butera, President Interactive Gaming             Unliquidated
    ____________________________________________________________              Disputed
    3600 Las Vegas Blvd. South, Las Vegas, NV 89109
    ____________________________________________________________                                   Notes Payable (Deficiency Claim)
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___             
                                                                           ■   Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:                Unknown
                                                                                                                                      $________________________________
     Colton Schmidt
    ____________________________________________________________
                                                                           Check all that apply.
                                                                              Contingent
                                                                              Unliquidated
     516 Red River Dr
    ____________________________________________________________  Disputed
    Paso Robles, CA 93446
    ____________________________________________________________
                                                                                                Litigation
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                                      $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                                      $________________________________
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                                      $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                                      $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                         page __     1
                                                                                                                                                                   1 of ___
 Debtor
               AAF Properties,
          19-50903-rbk      Doc#1 FiledLLC    04/17/19 Entered 04/17/19 13:56:29
              _______________________________________________________
                                                                                        Main Document Pg 41 of
                                                                         Case number (if known)_____________________________________
              Name                                                    58
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                      Total of claim amounts



5a. Total claims from Part 1                                                               5a.
                                                                                                        0.00
                                                                                                      $_____________________________




5b. Total claims from Part 2                                                               5b.   +
                                                                                                        Unknown
                                                                                                      $_____________________________




5c. Total of Parts 1 and 2
                                                                                           5c.
                                                                                                        Unknown
                                                                                                      $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                     Schedule E/F: Creditors Who Have Unsecured Claims                                  page __1 of ___
                                                                                                                                             1
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                                                 58
 Fill in this information to identify the case:

              AAF Properties, LLC
 Debtor name __________________________________________________________________

                                        Western
 United States Bankruptcy Court for the:______________________ District of     Texas
                                                                               _______
                                                                              (State)
 Case number (If known):    _________________________                Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       IP License and Escrow Agreement
                                          ____________________________________             MGM Resorts International Operations, Inc.
                                                                                           _________________________________________________________
 2.1     lease is for and the nature                                                       6385 S. Rainbow Blvd, Ste 500
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           Las Vegas, NV 89118
                                                                                           _________________________________________________________
         State the term remaining         Unknown
                                          ____________________________________
                                                                                           _________________________________________________________
         List the contract number of      Unknown
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
                                                                                                                                                         1
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                                                 58
 Fill in this information to identify the case:

              AAF Properties, LLC
 Debtor name __________________________________________________________________

                                        Western
 United States Bankruptcy Court for the:_______________________             Texas
                                                                District of ________
                                                                                  (State)
 Case number (If known):            _________________________




                                                                                                                                                         Check if this is an
                                                                                                                                                           amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
           No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
           Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                                           Check all schedules
             Name                             Mailing address                                             Name
                                                                                                                                                           that apply:


 2.1
           Ebersol Sports Media Group, Inc.
         _____________________                 4525 Macro St.
                                              ________________________________________________________     MGM Resorts International Operations, Inc.
                                                                                                                                                            D                   
                                                                                                           _____________________
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G
                                               San Antonio             TX              78218
                                              ________________________________________________________
                                              City                    State             ZIP Code

                                                                                                                                                                                 
 2.2       Legendary Field Exhibitions, LLC    4525 Macro St.
         _____________________                ________________________________________________________     MGM Resorts International Operations, Inc.
                                                                                                           _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G
                                               San Antonio             TX              78218
                                              ________________________________________________________
                                              City                    State             ZIP Code
                                                                                                                                                                                 
 2.3      AAF Players, LLC                     4525 Macro St.
         _____________________                ________________________________________________________     MGM Resorts International Operations, Inc.
                                                                                                           _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G
                                               San Antonio             TX              78218
                                              ________________________________________________________
                                              City                    State             ZIP Code
                                                                                                                                                                                 
 2.4
         _____________________                ________________________________________________________     _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G

                                              ________________________________________________________
                                              City                    State             ZIP Code
                                                                                                                                                                                 
 2.5
         _____________________                ________________________________________________________     _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G

                                              ________________________________________________________
                                              City                    State             ZIP Code
                                                                                                                                                                                 
 2.6
         _____________________                ________________________________________________________     _____________________                            D
                                              Street                                                                                                       E/F
                                              ________________________________________________________                                                      G

                                              ________________________________________________________
                                              City                    State             ZIP Code




Official Form 206H                                                   Schedule H: Codebtors                                                                   page 1 of ___
                                                                                                                                                                        1
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                                        58
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                                               58

)LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

            AAF Properties, LLC
Debtor name __________________________________________________________________
                                        Western
United States Bankruptcy Court for the: ______________________             Texas
                                                               District of _________
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                       Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  

7KHGHEWRUPXVWDQVZHUHYHU\TXHVWLRQ,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHV
ZULWHWKHGHEWRU¶VQDPHDQGFDVHQXPEHULINQRZQ


   Part 1:        Income



   1. *URVVUHYHQXHIURPEXVLQHVV

      
      ✔    None

              ,GHQWLI\WKHEHJLQQLQJDQGHQGLQJGDWHVRIWKHGHEWRU¶VILVFDO\HDUZKLFK       6RXUFHVRIUHYHQXH                  *URVVUHYHQXH
              PD\EHDFDOHQGDU\HDU                                                            Check all that apply                 (before deductions and
                                                                                                                                     exclusions)

             )URPWKHEHJLQQLQJRIWKH                                                           Operating abusiness
             ILVFDO\HDUWRILOLQJGDWH     From ___________         to     Filing date         Other _______________________    $________________
                                                    MM / DD / YYYY


             )RUSULRU\HDU                 From ___________         to      ___________        Operating abusiness              $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________
             )RUWKH\HDUEHIRUHWKDW       From ___________         to      ___________        Operating abusiness
                                                                                                                                      $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________


   2. 1RQEXVLQHVVUHYHQXH
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
      from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      
      ✔    None

                                                                                                'HVFULSWLRQRIVRXUFHVRIUHYHQXH   *URVVUHYHQXHIURPHDFK
                                                                                                                                     VRXUFH
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

             )URPWKHEHJLQQLQJRIWKH
                                                                                                ___________________________          $________________
             ILVFDO\HDUWRILOLQJGDWH From ___________              to     Filing date
                                                     MM / DD / YYYY



             )RUSULRU\HDU                 From ___________          to     ___________
                                                     MM / DD / YYYY            MM / DD / YYYY   ___________________________          $________________




             )RUWKH\HDUEHIRUHWKDW       From ___________          to     ___________
                                                     MM / DD / YYYY            MM / DD / YYYY   ___________________________          $________________




 Official Form 207                           6WDWHPHQWRI)LQDQFLDO$IIDLUVIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                            page 
         19-50903-rbk Doc#1 Filed 04/17/19 Entered 04/17/19 13:56:29 Main Document Pg 46 of
                                                 58
Debtor              AAF Properties, LLC
                    _______________________________________________________                        Case number (if known)_____________________________________
                    Name




   Part 2:           List Certain Transfers Made Before Filing for Bankruptcy

    &HUWDLQSD\PHQWVRUWUDQVIHUVWRFUHGLWRUVZLWKLQGD\VEHIRUHILOLQJWKLVFDVH
         List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
         days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
         adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         
         ✔       None
                 &UHGLWRU¶VQDPHDQGDGGUHVV                       'DWHV         7RWDODPRXQWRUYDOXH        5HDVRQVIRUSD\PHQWRUWUDQVIHU
                                                                                                                 Check all that apply
         3.1.

                  __________________________________________        ________       $_________________                 Secured debt
                  Creditor’s name
                                                                                                                      Unsecured loan repayments
                  __________________________________________
                  Street                                            ________                                          Suppliers or vendors
                  __________________________________________                                                          Services
                  __________________________________________
                  City                     State    ZIP Code
                                                                    ________                                          Other _______________________________

                   
         3.2.

                  __________________________________________        ________       $_________________                 Secured debt
                  Creditor’s name
                                                                                                                      Unsecured loan repayments
                  __________________________________________
                  Street                                            ________                                          Suppliers or vendors
                  __________________________________________                                                          Services
                  __________________________________________
                  City                     State    ZIP Code
                                                                    ________                                          Other _______________________________

                                     
   4. 3D\PHQWVRURWKHUWUDQVIHUVRISURSHUW\PDGHZLWKLQ\HDUEHIRUHILOLQJWKLVFDVHWKDWEHQHILWHGDQ\LQVLGHU
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
         guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
         $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
         Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
         general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
         the debtor. 11 U.S.C. § 101(31).

         
         ✔       None 
                 ,QVLGHU¶VQDPHDQGDGGUHVV                        'DWHV        7RWDODPRXQWRUYDOXH        5HDVRQVIRUSD\PHQWRUWUDQVIHU
         4.1.

                  __________________________________________       _________      $__________________          ___________________________________________
                  Insider’s name
                  __________________________________________       _________                                   ___________________________________________
                  Street
                  __________________________________________       _________                                   ___________________________________________
                  __________________________________________
                  City                     State    ZIP Code


                  5HODWLRQVKLSWRGHEWRU
                  __________________________________________
         
         4.2.

                  __________________________________________       _________      $__________________          ___________________________________________
                  Insider’s name
                  __________________________________________       _________                                   ___________________________________________
                  Street
                  __________________________________________       _________                                   ___________________________________________
                  __________________________________________
                  City                     State    ZIP Code



                  5HODWLRQVKLSWRGHEWRU

                  __________________________________________



Official Form 207                                6WDWHPHQWRI)LQDQFLDO$IIDLUVIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                            page 
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                                                     58
Debtor             AAF Properties, LLC
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   Name




    5HSRVVHVVLRQVIRUHFORVXUHVDQGUHWXUQV
         List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
         sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

         
         ✔      None
               &UHGLWRU¶VQDPHDQGDGGUHVV                                    'HVFULSWLRQRIWKHSURSHUW\                                   'DWH             9DOXHRISURSHUW\
         5.1.                                                                                                                                                                          
                __________________________________________                      ___________________________________________                     ______________      $___________
                Creditor’s name
                __________________________________________                      ___________________________________________
                Street
                __________________________________________                      ___________________________________________
                __________________________________________
                City                     State    ZIP Code

         5.2.

                __________________________________________                      ___________________________________________                     _______________      $___________
                Creditor’s name
                __________________________________________                      ___________________________________________
                Street
                __________________________________________                      ___________________________________________
                __________________________________________
                City                     State    ZIP Code


    6HWRIIV
         List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
         the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         
         ✔      None
                 &UHGLWRU¶VQDPHDQGDGGUHVV                                      'HVFULSWLRQRIWKHDFWLRQFUHGLWRUWRRN                     'DWHDFWLRQZDV      $PRXQW
                                                                                                                                                WDNHQ

                 __________________________________________                      ___________________________________________                   _______________      $___________
                 Creditor’s name
                 __________________________________________                      ___________________________________________
                 Street
                 __________________________________________
                 __________________________________________                      Last 4 digits of account number: XXXX– __ __ __ __
                 City                     State    ZIP Code


    Part 3:           Legal Actions or Assignments

    /HJDODFWLRQVDGPLQLVWUDWLYHSURFHHGLQJVFRXUWDFWLRQVH[HFXWLRQVDWWDFKPHQWVRUJRYHUQPHQWDODXGLWV
         List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
         was involved in any capacity—within 1 year before filing this case.

               None 
                 &DVHWLWOH                                        1DWXUHRIFDVH                                 &RXUWRUDJHQF\¶VQDPHDQGDGGUHVV             6WDWXVRIFDVH

         7.1.
                  Colton Schmidt et al vs. AAF Players LLC, et al
                 _________________________________
                                                                     Class Action - Employment, Fraud & Contract
                                                                    ______________________________                  San Francisco County Superior Court
                                                                                                                   __________________________________________       
                                                                                                                                                                    ✔   Pending
                                                                                                                   Name
                                                                                                                                                                       On appeal
                                                                                                                   __________________________________________
                &DVHQXPEHU                                                                                      Street                                              Concluded
                                                                                                                   __________________________________________
                  CGC-19-575169
                 _________________________________                                                                 __________________________________________
                                                                                                                   City               State          ZIP Code
                  

                 &DVHWLWOH                                                                                         &RXUWRUDJHQF\¶VQDPHDQGDGGUHVV                               
                                                                                                                                                                       Pending
         7.2.
                 _________________________________                  ______________________________                 __________________________________________          On appeal
                                                                                                                   Name
                                                                                                                   __________________________________________
                                                                                                                                                                       Concluded
                 &DVHQXPEHU
                                                                                                                   Street
                                                                                                                   __________________________________________
                 _________________________________
                                                                                                                   __________________________________________
                                                                                                                   City                     State    ZIP Code
         




Official Form 207                                       6WDWHPHQWRI)LQDQFLDO$IIDLUVIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                        page 
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                                                 58
Debtor             AAF Properties, LLC
                   _______________________________________________________                             Case number (if known)_____________________________________
                   Name




    $VVLJQPHQWVDQGUHFHLYHUVKLS
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
         hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
         
         ✔      None 
                 &XVWRGLDQ¶VQDPHDQGDGGUHVV                        'HVFULSWLRQRIWKHSURSHUW\                       9DOXH                                                 
         

                 __________________________________________           ______________________________________            $_____________
                 Custodian’s name
                                                                      &DVHWLWOH                                         &RXUWQDPHDQGDGGUHVV                                 
                 __________________________________________
                 Street
                                                                      ______________________________________          __________________________________________
                 __________________________________________                                                            Name
                 __________________________________________           &DVHQXPEHU                                      __________________________________________
                 City                     State    ZIP Code                                                           Street
                                                                      ______________________________________           __________________________________________
                                                                      'DWHRIRUGHURUDVVLJQPHQW                      __________________________________________
                                                                                                                       City               State          ZIP Code

                                                                      ______________________________________

   Part 4:          Certain Gifts and Charitable Contributions

    /LVWDOOJLIWVRUFKDULWDEOHFRQWULEXWLRQVWKHGHEWRUJDYHWRDUHFLSLHQWZLWKLQ\HDUVEHIRUHILOLQJWKLVFDVHXQOHVVWKHDJJUHJDWHYDOXH
         RIWKHJLIWVWRWKDWUHFLSLHQWLVOHVVWKDQ
         
         ✔      None 
                 5HFLSLHQW¶VQDPHDQGDGGUHVV                        'HVFULSWLRQRIWKHJLIWVRUFRQWULEXWLRQV                   'DWHVJLYHQ           9DOXH            


         9.1.
                __________________________________________            ___________________________________________                  BBBBBBBBBBBBBBBBB   $__________
                Recipient’s name

               __________________________________________            ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                     State    ZIP Code


                 5HFLSLHQW¶VUHODWLRQVKLSWRGHEWRU
                 __________________________________________


                __________________________________________            ___________________________________________                  BBBBBBBBBBBBBBBBB   $__________
         9.2. Recipient’s name

                __________________________________________            ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                     State    ZIP Code


                5HFLSLHQW¶VUHODWLRQVKLSWRGHEWRU
                 __________________________________________


   Part 5:          Certain Losses

   10. $OOORVVHVIURPILUHWKHIWRURWKHUFDVXDOW\ZLWKLQ\HDUEHIRUHILOLQJWKLVFDVH

         
         ✔      None 
                                                                                                                                                                                
                 'HVFULSWLRQRIWKHSURSHUW\ORVWDQGKRZWKHORVV   $PRXQWRISD\PHQWVUHFHLYHGIRUWKHORVV                     'DWHRIORVV        9DOXHRISURSHUW\
                 RFFXUUHG                                             If you have received payments to cover the loss, for                              ORVW
                                                                      example, from insurance, government compensation, or
                                                                      tort liability, list the total received.
                                                                      List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                      Assets – Real and Personal Property).


                 ___________________________________________          ___________________________________________                  BBBBBBBBBBBBBBBBB   $__________
                 ___________________________________________


Official Form 207                                6WDWHPHQWRI)LQDQFLDO$IIDLUVIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                  page 
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                                                 58
Debtor              AAF Properties, LLC
                    _______________________________________________________                      Case number (if known)_____________________________________
                    Name




   Part 6:          Certain Payments or Transfers

    3D\PHQWVUHODWHGWREDQNUXSWF\
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
         the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
         seeking bankruptcy relief, or filing a bankruptcy case.

         
         ✔     None 
                                                                                                                                                                      
               :KRZDVSDLGRUZKRUHFHLYHGWKHWUDQVIHU"       ,IQRWPRQH\GHVFULEHDQ\SURSHUW\WUDQVIHUUHG          'DWHV             7RWDODPRXQWRU
                                                                                                                                               YDOXH

                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
       11.1.                                                      ___________________________________________
                                                                                                                           ______________       $_________
               $GGUHVV
                                                                  ___________________________________________

               __________________________________________
                Street
                __________________________________________
                __________________________________________
                City                     State    ZIP Code


               (PDLORUZHEVLWHDGGUHVV
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

               :KRPDGHWKHSD\PHQWLIQRWGHEWRU"

         
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               

               :KRZDVSDLGRUZKRUHFHLYHGWKHWUDQVIHU"       ,IQRWPRQH\GHVFULEHDQ\SURSHUW\WUDQVIHUUHG          'DWHV             7RWDODPRXQWRU
                                                                                                                                               YDOXH


       11.2.    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB       ___________________________________________
                                                                                                                           ______________       $_________
               $GGUHVV                                          ___________________________________________

               __________________________________________
                Street
                __________________________________________
                __________________________________________
                City                     State    ZIP Code
         
                (PDLORUZHEVLWHDGGUHVV
               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

         
                :KRPDGHWKHSD\PHQWLIQRWGHEWRU"
         
                __________________________________________


    6HOIVHWWOHGWUXVWVRIZKLFKWKHGHEWRULVDEHQHILFLDU\
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
         a self-settled trust or similar device.
         Do not include transfers already listed on this statement.

         
         ✔     None
                                                                                                                                                                      
               1DPHRIWUXVWRUGHYLFH                          'HVFULEHDQ\SURSHUW\WUDQVIHUUHG                        'DWHVWUDQVIHUV    7RWDODPRXQWRU
                                                                                                                            ZHUHPDGH          YDOXH


                __________________________________________        ___________________________________________               ______________       $_________

                7UXVWHH                                          ___________________________________________
                __________________________________________




Official Form 207                             6WDWHPHQWRI)LQDQFLDO$IIDLUVIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                             page 
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                                                 58
Debtor            AAF Properties, LLC
                  _______________________________________________________                          Case number (if known)_____________________________________
                  Name




    7UDQVIHUVQRWDOUHDG\OLVWHGRQWKLVVWDWHPHQW
         List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
         within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
         Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


         
         ✔     None

                                                                                                                                                                        
               :KRUHFHLYHGWUDQVIHU"                             'HVFULSWLRQRISURSHUW\WUDQVIHUUHGRUSD\PHQWVUHFHLYHG   'DWHWUDQVIHU      7RWDODPRXQWRU
                                                                    RUGHEWVSDLGLQH[FKDQJH                                  ZDVPDGH           YDOXH



       13.1.    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         ___________________________________________                 BBBBBBBBBBBBBBBB    $_________

                                                                   ___________________________________________
                $GGUHVV
               __________________________________________
                Street
                __________________________________________
                __________________________________________
                City                     State    ZIP Code

   
                5HODWLRQVKLSWRGHEWRU

                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                                                                                                                                        

                                                                                                                                                                        
                :KRUHFHLYHGWUDQVIHU"
                                                                    ___________________________________________                 BBBBBBBBBBBBBBBB    $_________

       13.2.    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB         ___________________________________________

                $GGUHVV
                __________________________________________
                Street
                __________________________________________
                __________________________________________
                City                     State    ZIP Code


                5HODWLRQVKLSWRGHEWRU

                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                                                                             

   
   Part 7:         Previous Locations

   14. 3UHYLRXVDGGUHVVHV
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         
         ✔     Does not apply
                $GGUHVV                                                                                            'DWHVRIRFFXSDQF\


       14.1.    _______________________________________________________________________                             From        ____________        To   ____________
                Street
                _______________________________________________________________________
                _______________________________________________________________________
                City                                      State        ZIP Code


       14.2.    _______________________________________________________________________                             From        ____________        To   ____________
                Street
                _______________________________________________________________________
                _______________________________________________________________________
                City                                      State        ZIP Code
                                                               
Official Form 207                            6WDWHPHQWRI)LQDQFLDO$IIDLUVIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                    page 
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                                                 58
Debtor            AAF Properties, LLC
                  _______________________________________________________                             Case number (if known)_____________________________________
                  Name




   Part 8:          Health Care Bankruptcies

    +HDOWK&DUHEDQNUXSWFLHV
         Is the debtor primarily engaged in offering services and facilities for:
          diagnosing or treating injury, deformity, or disease, or
          providing any surgical, psychiatric, drug treatment, or obstetric care?

         
         ✔     No. Go to Part 9.
              Yes. Fill in the information below.
   
                )DFLOLW\QDPHDQGDGGUHVV                       1DWXUHRIWKHEXVLQHVVRSHUDWLRQLQFOXGLQJW\SHRIVHUYLFHVWKH            ,IGHEWRUSURYLGHVPHDOV   
                                                                  GHEWRUSURYLGHV                                                             DQGKRXVLQJQXPEHURI
                                                                                                                                               SDWLHQWVLQGHEWRU¶VFDUH
                                                                                                                                                                            
       15.1.    ________________________________________          ___________________________________________________________                  ____________________
                Facility name
                                                                  ____________________________________________________________

               ________________________________________
                Street                                            /RFDWLRQZKHUHSDWLHQWUHFRUGVDUHPDLQWDLQHG(if different from facility    +RZDUHUHFRUGVNHSW"
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                               Check all that apply:
                                                                  ____________________________________________________________
                ________________________________________
                City              State       ZIP Code           ____________________________________________________________
                                                                                                                                                Electronically
                                                                                                                                               Paper
                                                                 
   
                )DFLOLW\QDPHDQGDGGUHVV                       1DWXUHRIWKHEXVLQHVVRSHUDWLRQLQFOXGLQJW\SHRIVHUYLFHVWKH            ,IGHEWRUSURYLGHVPHDOV   
                                                                  GHEWRUSURYLGHV                                                             DQGKRXVLQJQXPEHURI
                                                                                                                                               SDWLHQWVLQGHEWRU¶VFDUH
                                                                                                                                                                            
       15.2.    ________________________________________          ___________________________________________________________                  ____________________
                Facility name
                                                                  ___________________________________________________________
               ________________________________________
                Street                                            /RFDWLRQZKHUHSDWLHQWUHFRUGVDUHPDLQWDLQHG(if different from facility    +RZDUHUHFRUGVNHSW"
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                               Check all that apply:
                                                                  ____________________________________________________________
                ________________________________________
                City              State       ZIP Code           ____________________________________________________________
                                                                                                                                                Electronically
                                                                                                                                               Paper
                                                                 
   Part 9:          Personally Identifiable Information

   'RHVWKHGHEWRUFROOHFWDQGUHWDLQSHUVRQDOO\LGHQWLILDEOHLQIRUPDWLRQRIFXVWRPHUV"

         
         ✔ No.

         Yes. State the nature of the information collected and retained. ___________________________________________________________________
                    Does the debtor have a privacy policy about that information?
                  
                        No
                        Yes
   :LWKLQ\HDUVEHIRUHILOLQJWKLVFDVHKDYHDQ\HPSOR\HHVRIWKHGHEWRUEHHQSDUWLFLSDQWVLQDQ\(5,6$NERURWKHU
         SHQVLRQRUSURILWVKDULQJSODQPDGHDYDLODEOHE\WKHGHEWRUDVDQHPSOR\HHEHQHILW"

         
         ✔     No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?
                        No. Go to Part 10.
                        Yes. Fill in below:
                          1DPHRISODQ                                                                            (PSOR\HULGHQWLILFDWLRQQXPEHURIWKHSODQ
   
                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                 EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                         Has the plan been terminated?
                               No
                               Yes



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Debtor           AAF Properties, LLC
                 _______________________________________________________                             Case number (if known)_____________________________________
                 Name




   Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

    &ORVHGILQDQFLDODFFRXQWV
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
         moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

         
         ✔   None
                                                                                                                                                                            
              )LQDQFLDOLQVWLWXWLRQQDPHDQGDGGUHVV           /DVWGLJLWVRIDFFRXQW       7\SHRIDFFRXQW            'DWHDFFRXQWZDV       /DVWEDODQFH
                                                                QXPEHU                                                     FORVHGVROGPRYHG   EHIRUHFORVLQJRU
                                                                                                                            RUWUDQVIHUUHG         WUDQVIHU
                                                                                                                                                                            
     18.1.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City               State      ZIP Code                                           Other______________

     18.2.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

    6DIHGHSRVLWER[HV
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

         
         ✔   None 
                                                                                                                                                         'RHVGHEWRU 
                 'HSRVLWRU\LQVWLWXWLRQQDPHDQGDGGUHVV       1DPHVRIDQ\RQHZLWKDFFHVVWRLW           'HVFULSWLRQRIWKHFRQWHQWV
                                                                                                                                                          VWLOOKDYHLW"

         
               ______________________________________          __________________________________          __________________________________                 No
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                              Yes
               ______________________________________
               Street                                          __________________________________          __________________________________             
               ______________________________________
               ______________________________________           $GGUHVV                                                                                  
               City               State      ZIP Code
                                                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                               ____________________________________

  2IISUHPLVHVVWRUDJH
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
         which the debtor does business.

      
      ✔      None

                 )DFLOLW\QDPHDQGDGGUHVV                     1DPHVRIDQ\RQHZLWKDFFHVVWRLW         'HVFULSWLRQRIWKHFRQWHQWV                   'RHVGHEWRU
                                                                                                                                                          VWLOOKDYHLW"
                                                                                                                                                            No
               ______________________________________          __________________________________          __________________________________
               Name
                                                                                                                                                            Yes
               ______________________________________
                                                               __________________________________          __________________________________              
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________            $GGUHVV                                                                                  
               City               State      ZIP Code
                                                                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                                _________________________________



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Debtor            AAF Properties, LLC
                  _______________________________________________________                        Case number (if known)_____________________________________
                  Name




   Part 11:         Property the Debtor Holds or Controls That the Debtor Does Not Own

    3URSHUW\KHOGIRUDQRWKHU
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

         
         ✔   None 
                                                             /RFDWLRQRIWKHSURSHUW\                'HVFULSWLRQRIWKHSURSHUW\                  9DOXH        
              2ZQHU¶VQDPHDQGDGGUHVV
         
                                                                                                                                                     $_______
              ______________________________________         __________________________________        __________________________________
              Name
                                                             __________________________________        __________________________________
              ______________________________________
              Street                                         __________________________________        __________________________________
              ______________________________________
              ______________________________________
              City               State      ZIP Code




   Part 12:         Details About Environmental Information

   For the purpose of Part 12, the following definitions apply:
    Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).
    Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.
    Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

   5HSRUWDOOQRWLFHVUHOHDVHVDQGSURFHHGLQJVNQRZQUHJDUGOHVVRIZKHQWKH\RFFXUUHG


   22. +DVWKHGHEWRUEHHQDSDUW\LQDQ\MXGLFLDORUDGPLQLVWUDWLYHSURFHHGLQJXQGHUDQ\HQYLURQPHQWDOODZ"Include settlements and orders.


         
         ✔   No
            Yes. Provide details below.
             &DVHWLWOH                                &RXUWRUDJHQF\QDPHDQGDGGUHVV             1DWXUHRIWKHFDVH                       6WDWXVRIFDVH   

              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                         _____________________________________         __________________________________           Pending
              &DVHQXPEHU                               Name
                                                                                                       __________________________________
                                                                                                                                                    On appeal

              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                         _____________________________________
                                                         Street
                                                                                                                                                    Concluded
                                                                                                       __________________________________
                                                         _____________________________________                                                   
                                                         _____________________________________
                                                         City               State      ZIP Code
              

   23. +DVDQ\JRYHUQPHQWDOXQLWRWKHUZLVHQRWLILHGWKHGHEWRUWKDWWKHGHEWRUPD\EHOLDEOHRUSRWHQWLDOO\OLDEOHXQGHURULQYLRODWLRQRIDQ
         HQYLURQPHQWDOODZ"

         
         ✔   No
            Yes. Provide details below.
            6LWHQDPHDQGDGGUHVV                      *RYHUQPHQWDOXQLWQDPHDQGDGGUHVV           (QYLURQPHQWDOODZLINQRZQ              'DWHRIQRWLFH


              __________________________________         _____________________________________         __________________________________        __________
              Name                                       Name
                                                                                                       __________________________________
              __________________________________         _____________________________________
              Street                                     Street                                        __________________________________
              __________________________________         _____________________________________
              __________________________________         _____________________________________
              City               State   ZIP Code       City               State      ZIP Code

         

Official Form 207                            6WDWHPHQWRI)LQDQFLDO$IIDLUVIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                               page 
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                                                 58
Debtor              AAF Properties, LLC
                    _______________________________________________________                     Case number (if known)_____________________________________
                    Name




   24. +DVWKHGHEWRUQRWLILHGDQ\JRYHUQPHQWDOXQLWRIDQ\UHOHDVHRIKD]DUGRXVPDWHULDO"
         
         ✔     No
              Yes. Provide details below.

              6LWHQDPHDQGDGGUHVV                    *RYHUQPHQWDOXQLWQDPHDQGDGGUHVV          (QYLURQPHQWDOODZLINQRZQ                 'DWHRIQRWLFH


                __________________________________      ______________________________________        __________________________________           __________
                Name                                    Name
                                                                                                      __________________________________
                __________________________________      ______________________________________
                Street                                  Street                                        __________________________________
                __________________________________      ______________________________________
                __________________________________      ______________________________________
                City               State   ZIP Code    City               State      ZIP Code




   Part 13:              Details About the Debtor’s Business or Connections to Any Business


   25. 2WKHUEXVLQHVVHVLQZKLFKWKHGHEWRUKDVRUKDVKDGDQLQWHUHVW
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

         
         ✔     None

                                                                                                                                                                   
                %XVLQHVVQDPHDQGDGGUHVV                'HVFULEHWKHQDWXUHRIWKHEXVLQHVV                  (PSOR\HU,GHQWLILFDWLRQQXPEHU
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
       25.1.    __________________________________       _____________________________________________
               Name                                                                                           'DWHVEXVLQHVVH[LVWHG
                                                         _____________________________________________
                __________________________________
                Street                                   _____________________________________________
                __________________________________                                                             From _______         To _______
                __________________________________
                City               State   ZIP Code
                                                                                                                                                                   

                                                                                                                                                                   
                %XVLQHVVQDPHDQGDGGUHVV                'HVFULEHWKHQDWXUHRIWKHEXVLQHVV                  (PSOR\HU,GHQWLILFDWLRQQXPEHU
       25.2.                                                                                                   Do not include Social Security number or ITIN.
         
                __________________________________       _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
                Name
                                                        _____________________________________________
                                                                                                               'DWHVEXVLQHVVH[LVWHG                    
                __________________________________
                Street                                   _____________________________________________
                __________________________________                                                             From _______         To _______          
                __________________________________
                City               State   ZIP Code



               %XVLQHVVQDPHDQGDGGUHVV                'HVFULEHWKHQDWXUHRIWKHEXVLQHVV                  (PSOR\HU,GHQWLILFDWLRQQXPEHU
                                                                                                               Do not include Social Security number or ITIN.

       25.3.    __________________________________       _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
                Name
                                                        _____________________________________________         'DWHVEXVLQHVVH[LVWHG                    
                __________________________________
                Street                                   _____________________________________________
               __________________________________
                __________________________________                                                             From _______         To _______          
                City               State   ZIP Code




         




Official Form 207                            6WDWHPHQWRI)LQDQFLDO$IIDLUVIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                                page 
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                                                 58
Debtor                AAF Properties, LLC
                      _______________________________________________________                      Case number (if known)_____________________________________
                      Name




   26. %RRNVUHFRUGVDQGILQDQFLDOVWDWHPHQWV
         26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                      None
         
                  1DPHDQGDGGUHVV                                                                               'DWHVRIVHUYLFH                      

                                                                                                                       03/01/18
                                                                                                                  From _______          Current
                                                                                                                                     To _______        
     26a.1.        KongBasileConsulting, LLC
                  __________________________________________________________________________________
                 Name                                                                                            
                  __________________________________________________________________________________
                 Street                                                                                          
                  1610 Eucalyptus Drive
                  __________________________________________________________________________________
                  San Francisco                                CA                   94132
                  __________________________________________________________________________________
                  City                                          State              ZIP Code
                 
                 1DPHDQGDGGUHVV                                                                               'DWHVRIVHUYLFH                      

                                                                                                                       11/12/18
                                                                                                                  From _______          Current
                                                                                                                                     To _______        
     26a.2.        CliftonLarsonAllen LLP
                  __________________________________________________________________________________
                 Name                                                                                            
                  P.O. Box 740863
                  __________________________________________________________________________________
                 Street                                                                                          
                  __________________________________________________________________________________
                  Atlanta                                       GA                30374-0863
                  __________________________________________________________________________________
                  City                                          State              ZIP Code
                 
         26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
                statement within 2 years before filing this case.
                
                ✔      None

                        1DPHDQGDGGUHVV                                                                        'DWHVRIVHUYLFH                      

                                                                                                                  From _______       To _______        
             26b.1.      ______________________________________________________________________________
                        Name                                                                                                                          
                        ______________________________________________________________________________                                                
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                          State              ZIP Code
                        
                        1DPHDQGDGGUHVV                                                                        'DWHVRIVHUYLFH                      

                                                                                                                  From _______       To _______        
             26b.2.      ______________________________________________________________________________
                        Name                                                                                                                          
                         ______________________________________________________________________________
                        Street                                                                                                                        
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                        City                                         State              ZIP Code



         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                      None
                         1DPHDQGDGGUHVV                                                                        ,IDQ\ERRNVRIDFFRXQWDQGUHFRUGVDUH
                                                                                                                 XQDYDLODEOHH[SODLQZK\


             26c.1.      Jane LeFevre
                         ______________________________________________________________________________            N/A
                                                                                                                  _________________________________________
                        Name                                                                                                                                    
                          2937 Union St.                                                                          _________________________________________
                         ______________________________________________________________________________
                         Street                                                                                   _________________________________________
                         ______________________________________________________________________________
                          Clearwater                                    FL                 33759
                         ______________________________________________________________________________
                         City                                             State                 ZIP Code
                        

Official Form 207                               6WDWHPHQWRI)LQDQFLDO$IIDLUVIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                             page 
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Debtor                AAF Properties, LLC
                      _______________________________________________________                     Case number (if known)_____________________________________
                      Name



                        

                         1DPHDQGDGGUHVV                                                                          ,IDQ\ERRNVRIDFFRXQWDQGUHFRUGVDUH
                                                                                                                   XQDYDLODEOHH[SODLQZK\


             26c.2.      ______________________________________________________________________________             _________________________________________
                        Name
                                                                                                                    _________________________________________
                         ______________________________________________________________________________
                        Street
                                                                                                                                                                         
                                                                                                                    _________________________________________
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                         State              ZIP Code
                                                                                                                   

         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
              within 2 years before filing this case.

                
                ✔      None

                        1DPHDQGDGGUHVV


                                                                                                                    
             26d.1.      ______________________________________________________________________________
                        Name                                                                                       
                         ______________________________________________________________________________
                        Street                                                                                     
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                          State              ZIP Code
                        
                        1DPHDQGDGGUHVV

                                                                                                                    
             26d.2.      ______________________________________________________________________________
                        Name                                                                                       
                        ______________________________________________________________________________             
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                          State              ZIP Code
                        


   27. ,QYHQWRULHV

         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
    
    ✔         No
            Yes. Give the details about the two most recent inventories. 



                1DPHRIWKHSHUVRQZKRVXSHUYLVHGWKHWDNLQJRIWKHLQYHQWRU\                         'DWHRI         7KHGROODUDPRXQWDQGEDVLVFRVWPDUNHWRU       
                                                                                                       LQYHQWRU\       RWKHUEDVLVRIHDFKLQYHQWRU\

               ______________________________________________________________________             _______         $___________________                                


                1DPHDQGDGGUHVVRIWKHSHUVRQZKRKDVSRVVHVVLRQRILQYHQWRU\UHFRUGV                            

                                                                                                                   
     27.1.       ______________________________________________________________________
                Name
               ______________________________________________________________________                             
                Street
               ______________________________________________________________________
                ______________________________________________________________________                             
                City                                              State        ZIP Code


                                                                                                                  


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                                                 58
Debtor
                  AAF Properties, LLC
                  _______________________________________________________                          Case number (if known)_____________________________________
                  Name




             1DPHRIWKHSHUVRQZKRVXSHUYLVHGWKHWDNLQJRIWKHLQYHQWRU\                         'DWHRI          7KHGROODUDPRXQWDQGEDVLVFRVWPDUNHWRU            
                                                                                                    LQYHQWRU\        RWKHUEDVLVRIHDFKLQYHQWRU\

             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB               _______      $___________________                                     

             1DPHDQGDGGUHVVRIWKHSHUVRQZKRKDVSRVVHVVLRQRILQYHQWRU\UHFRUGV                             


     27.2.    ______________________________________________________________________                             
              Name

             ______________________________________________________________________                             
              Street
              ______________________________________________________________________
                                                                                                                
              ______________________________________________________________________
              City                                              State        ZIP Code
             
   28. /LVWWKHGHEWRU¶VRIILFHUVGLUHFWRUVPDQDJLQJPHPEHUVJHQHUDOSDUWQHUVPHPEHUVLQFRQWUROFRQWUROOLQJVKDUHKROGHUVRURWKHU
         SHRSOHLQFRQWURORIWKHGHEWRUDWWKHWLPHRIWKHILOLQJRIWKLVFDVH


             1DPH                                $GGUHVV                                                3RVLWLRQDQGQDWXUHRIDQ\             RILQWHUHVWLIDQ\
                                                                                                                                                                            
                                                                                                           LQWHUHVW
              Charles Ebersol
              ____________________________
                                                    10866 Wilshire Blvd. Suite 300 Los Angeles, CA 90024
                                                   _____________________________________________            Manager
                                                                                                           ____________________________             BBBBBBBBBBBBBBB         
         

             ____________________________         _____________________________________________           ____________________________             BBBBBBBBBBBBBBB         

             ____________________________         _____________________________________________           ____________________________             BBBBBBBBBBBBBBB         

             ____________________________         _____________________________________________           ____________________________             BBBBBBBBBBBBBBB         

             ____________________________         _____________________________________________           ____________________________             BBBBBBBBBBBBBBB         

   29. :LWKLQ\HDUEHIRUHWKHILOLQJRIWKLVFDVHGLGWKHGHEWRUKDYHRIILFHUVGLUHFWRUVPDQDJLQJPHPEHUVJHQHUDOSDUWQHUVPHPEHUVLQFRQWURO
         RIWKHGHEWRURUVKDUHKROGHUVLQFRQWURORIWKHGHEWRUZKRQRORQJHUKROGWKHVHSRVLWLRQV"
    
    ✔        No
           Yes. Identify below. 

             1DPH                                $GGUHVV                                                 3RVLWLRQDQGQDWXUHRI         3HULRGGXULQJZKLFK
                                                                                                            DQ\LQWHUHVW                   SRVLWLRQRULQWHUHVWZDV       
                                                                                                                                            KHOG

             ____________________________         _____________________________________________            ______________________          From _____ To _____            

             ____________________________         _____________________________________________            ______________________          From _____ To _____            

             ____________________________         _____________________________________________            ______________________          From _____ To _____            
             ____________________________         _____________________________________________            ______________________          From _____ To _____            

   30. 3D\PHQWVGLVWULEXWLRQVRUZLWKGUDZDOVFUHGLWHGRUJLYHQWRLQVLGHUV
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
    
    ✔        No
           Yes. Identify below.

             1DPHDQGDGGUHVVRIUHFLSLHQW                                                $PRXQWRIPRQH\RU                  'DWHV             5HDVRQIRU          
                                                                                           GHVFULSWLRQDQGYDOXHRI                                SURYLGLQJWKHYDOXH
                                                                                           SURSHUW\


     30.1.    ______________________________________________________________                _________________________           BBBBBBBBBBBBB       ____________
              Name
              ______________________________________________________________
             Street                                                                                                           _____________
              ______________________________________________________________                                                                                                
              ______________________________________________________________                                                   _____________
              City                                State         ZIP Code
             5HODWLRQVKLSWRGHEWRU                                                                                          _____________

              BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                  _____________

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